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                          Exhibit I
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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 TELEBRANDS CORPORATION,                         ) Case No. 1:23-cv-00631-BMB
                                                 )
                Plaintiff,                       ) Judge Bridget Meehan Brennan
                                                 )
           v.                                    )
                                                 )
 WINSTON PRODUCTS LLC,                           )
                                                 )
                Defendant.                       )

                         SUPPLEMENT TO REBUTTAL EXPERT
                      DECLARATION OF JOHN M. FELAND, III, PH.D

        1.      My name is John M. Feland, III, and I have been retained as an expert by Tucker

Ellis LLP on behalf of Defendant Winston Products LLC (“Winston”) in the above-captioned

lawsuit.

        2.      I provide this declaration as a supplement to my January 16, 2024, declaration in

this case.

        3.      In light of the arguments made by Dr. Glancey in his Sur-rebuttal Declaration, I

developed a slight modification to the proposed constructions offered by Winston, adding the word

“readily” to the construction of the term “secured” as it appears in the Group A, Group C, and

Group D terms. I understand that on March 29, 2024, counsel for Winston sent counsel for Plaintiff

Telebrands Corporation (“Telebrands”) a document reflecting this modification, entitled

“Winston’s Updated Claim Constructions (03/29/2024),” a copy of which is attached hereto as

Exhibit A.

        4.      I adopt the modifications reflected in Winston’s Updated Claim Constructions

(03/29/2024), which does not alter any of the opinions reflected in my January 16, 2024,


                                                1
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                         Exhibit A
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Winston’s Updated Claim Constructions (03/29/2024)

I.       Group A

 Claim Term/Phrase                                  Defendant’s Construction
 “secured”                                          “affixed or attached firmly so it cannot be
                                                    readily removed from”
 “to couple”                                        “to removably connect”
 “coupled to”                                       “removably connected to”


II.      Group B

 Claim Term/Phrase                                  Defendant’s Construction
 “said inner and outer tubes unsecured between      “the inner and outer tubes are not affixed or
 said first and second ends so that said outer      attached firmly except at their first and second
 tube is not held in frictional contact with said   ends so that the outer tube can move freely
 inner tube so that said outer tube can move        along the inner tube between the couplers”
 freely along said inner tube”




 “said inner tube is unsecured to said outer tube   “the inner tube is not affixed or attached firmly
 between said first and second ends so that said    to the outer tube except at their first and second
 outer tube can move freely over said inner         ends so that the outer tube can move freely
 tube”                                              along the inner tube between the couplers”




 “said flexible inner tube unsecured to said        “the flexible inner tube is not affixed or
 flexible outer tube between said first and         attached firmly to the flexible outer tube
 second ends so that said flexible outer tube can   except at their first and second ends so that the
 move freely over said flexible inner tube”         flexible outer tube can move freely over the
                                                    flexible inner tube”
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III.   Group C

 Claim Term/Phrase                                    Defendant’s Construction
 “a first restrictor sleeve secured to said first     “device that restricts the expansion of the inner
 end of said inner and said outer tubes” / “a first   tube and is affixed or attached firmly so it
 restrictor sleeve secured to said first end of       cannot be readily removed from the first end
 said flexible inner tube and said flexible outer
                                                      of the inner tube and the first end of the outer
 tube”
                                                      tube” / “a device that restricts the expansion of
                                                      the inner tube and is affixed or attached firmly
                                                      so it cannot be readily removed from the first
                                                      end of the flexible inner tube and the first end
                                                      of the flexible outer tube”
 “a second restrictor sleeve secured to said          “a device that restricts the expansion of the
 second end of said inner and said outer tubes”       inner tube and is affixed or attached firmly so
 / “a second restrictor sleeve secured to said        it cannot be readily removed from the second
 second end of said flexible inner tube and said
                                                      end of the inner tube and the second end of the
 flexible outer tube”
                                                      outer tube” / “a device that restricts the
                                                      expansion of the inner tube and is affixed or
                                                      attached firmly so it cannot be readily
                                                      removed from the second end of the flexible
                                                      inner tube and the second end of the flexible
                                                      outer tube”


IV.    Group D

 Claim Term/Phrase                                    Defendant’s Construction
 “a first securing device securing said first         “a device encompassing and affixing or
 restrictor sleeve, said outer tube, and said inner   attaching firmly the first restrictor sleeve, the
 tube to said first coupler” / “a first securing      first end of the outer tube, and the first end of
 device securing said first restrictor sleeve, said
                                                      the inner tube to the first coupler so they
 flexible outer tube, and said flexible inner tube
 to said first coupler”                               cannot be readily removed” / “a device
                                                      encompassing and affixing or attaching firmly
                                                      the first restrictor sleeve, the first end of the
                                                      outer tube, and the first end of the inner tube to
                                                      the first coupler so they cannot be readily
                                                      removed”
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“a second securing device securing said             ““a device encompassing and affixing or
another expansion restrictor sleeve, said outer     attaching firmly the second restrictor sleeve,
tube, and said inner tube to said second            the second end of the outer tube, and the
coupler” / “a second securing device securing
                                                    second end of the inner tube to the second
said second expansion restrictor sleeve, said
flexible outer tube, and said flexible inner tube   coupler so they cannot be readily removed” /
to said second coupler”                             “a device encompassing and affixing or
                                                    attaching firmly the second restrictor sleeve,
                                                    the second end of the outer tube, and the
                                                    second end of the inner tube to the second
                                                    coupler so they cannot be readily removed”
